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                    EXHIBIT 1
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, April 16, 2013 11:01 PM
To:                        diane@patentpartnersllc.com
Subject:                   Trademark RN 2709593: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 75458781
Registration Number: 2709593
Registration Date: Apr 22, 2003
Mark: OUTWARD HOUND
Owner: Kyjen Company, Inc., The



                                                                                 Apr 16, 2013

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
018, 021




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=75458781. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, November 7, 2016 11:01 PM
To:                        diane@patentpaertnersllc.com
Subject:                   Official USPTO Notice of Acceptance and Renewal Sections 8 and 9: U.S. Trademark RN 3278965: HIDE A SQUIRREL

Serial Number: 77028347
Registration Number: 3278965
Registration Date: Aug 14, 2007
Mark: HIDE A SQUIRREL
Owner: THE KYJEN COMPANY, LLC



                                                                                 Nov 7, 2016

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
028




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=77028347. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
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Reg. No. 5,428,383       the Kyjen Company, LLC (COLORADO LIMITED LIABILITY COMPANY)
                         15514 E. Hinsdale Circle
Registered Mar. 20, 2018 Centennial, COLORADO 80112
                             CLASS 28: Cat toys
Int. Cl.: 28
                             FIRST USE 5-1-2013; IN COMMERCE 6-1-2013
Trademark
                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register           PARTICULAR FONT STYLE, SIZE OR COLOR

                             SER. NO. 87-581,187, FILED 08-23-2017
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